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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                              Case NO. 19-24184-Civ-Cooke/Goodman

  JAMES BUCKMAN, et al.,

            Plaintiff,
  v.

  LANCASTER MORTGAGE CO., et al.,

        Defendants.
   _____________________________/

       DEFENDANTS’ MOTION TO STRIKE OR IN THE ALTERNATIVE REPLY TO
                      PLAINTIFF’S RESPONSE [D.E. 27]

            COMES NOW, Defendant, Deutsche Bank National Trust Company as Trustee
  Under the Pooling and Servicing Agreement Series RAST 2006-8 (CSFB) (“Deutsche”),
  hereby files its Motion to Strike or in the Alternative Reply to Plaintiffs’ Response [D.E. 27]
  (the “Response”) to Defendant’s Motion to Dismiss Plaintiffs’ Amended Complaint [D.E.
  22] and states:
                                     MEMORANDUM OF LAW
            The facts plead by Plaintiffs against Deutsche fail to state a single cause of action
  against Deutsche and should be dismissed with prejudice. Plaintiff’s Response fails to refute
  any of the grounds alleged in the Motion and the Motion should be granted for the plethora
  of reasons set for therein.
       I.       Plaintiff’s Response in Opposition to Deutsche’s Motion to Dismiss was
                Untimely and Should be Stricken

            Plaintiffs’ Response to Deutsche’s Motion to Dismiss Amended Complaint is
  untimely and should be stricken. Rule 7.1(c), Local Rules for the Southern District of Florida
  states in pertinent part that “each party opposing a motion shall file and serve an opposing
  memorandum of law no later than fourteen (14) days after filing and service of the motion.”
  Here, Deutsche filed its Motion to Dismiss Plaintiffs’ Amended Complaint on January 17,
  2020. [D.E. 22]. Pursuant to this Court’s rules, Plaintiffs were required to file a response by
  January 31, 2020. However, Plaintiffs failed to file a response until February 11, 2020 [D.E.
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  27], which is untimely 1. Although this Court construes pro se briefs liberally, pro se litigants
  must conform to procedural rules. Taylor v. National Security Agency, 618 Fed. Appx. 478, 481
  (11th Cir. 2015). Because Plaintiffs response is untimely, Deutsche respectfully requests that
  it is stricken from the record and Deutsche’s Motion to Dismiss Plaintiffs’ Amended
  Complaint is granted with prejudice.
         II.      Even if Plaintiff’s Response was Timely, it Fails to Overcome the Arguments
                  Raised in Deutsche’s Motion to Dismiss Plaintiffs’ Amended Complaint

               Deutsche moved to dismiss Plaintiffs’ Amended Complaint on both procedural and
  substantive grounds. Plaintiffs’ Response entirely fails to address any of the procedural
  deficiencies with Plaintiffs’ Amended Complaint. Instead, Plaintiffs’ Response is comprised
  of a rant of conclusions asserting that the loan documents in the underlying foreclosure action
  are fraudulent.           Specifically, Plaintiffs assert in their Response that Deutsche “st[ole]
  plaintiffs[sic] property using a[sic] invalid and void and useless Mortgage, Promissory Note
  and fake Mortgage Assignment”. However, Plaintiffs are third parties to the promissory note,
  mortgage and assignments of mortgage, and therefore, lack standing to challenge the validity
  of these documents or their use in the underlying foreclosure. See Henry v. Guaranteed Rates,
  Inc., 415 Fed. Appx. 985, 985-86 (11th Cir. 2011) (“[Plaintiff] lacked standing to complain
  about any alleged misconduct regarding a loan to which she was not a party.”); Johnson v.
  Ocwen Loan Servicing, 374 Fed. Appx. 868, 873-74 (affirming dismissal of IFP complaint for
  plaintiff’s lack of standing to bring claims against mortgage loan servicer where she was “not
  a party to loan”); Correa v. BAC Home Loans Servicing, LP, 853 F. Supp. 2d 1203, 1207-08 (M.D.
  Fla. 2012) (“Because [the Plaintiff] was not a party to the loan transaction, he cannot sue
  under rights arising out of that contract when he is not an intended third party beneficiary.”).
         A. Quiet Title
               Plaintiffs’ Response fails to address the arguments raised by Deutsche asserting that
  Plaintiffs’ claim fails to state a cause of action. Instead of addressing how Plaintiffs can
  possibly assert a claim to quiet title when they do not hold title to the subject property,
  Plaintiff’s go on a rant about how the loan documents—which they are not a party to—are




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      Notably, Plaintiffs never moved this Court for an order to file a response out of time.
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  fraudulent. Plaintiffs’ Response fails to address the arguments presented by Deutsche in its
  Motion to Dismiss, and as such, Plaintiffs’ claim to quiet title must be dismissed.
      B. Slander of Title
          Plaintiffs’ Response fails to address how Deutsche could have slandered Plaintiffs’ title
  when Deutsche holds title to the subject property. Further, Plaintiffs Response fails to identify
  how they plead a cause of action asserting a claim for slander of title. Instead, Plaintiffs
  appear to assert that Deutsche claimed that it owned the subject property when it foreclosed
  and complaint of alleged fraudulent documents. Plaintiffs’ Response fails to overcome the
  arguments presented in by Deutsche in its Motion to Dismiss, and as such, Plaintiffs’ claim
  for slander of title should be dismissed.
      C. Alleged Violation of Fla. Stat. §559.715
          Plaintiffs’ Response fails to address how they have a private right of action to assert
  claims under Fla. Stat. §559.715 or how the statute created a condition precedent in the
  underlying foreclosure action—both of which are contrary to the law. Instead, Plaintiffs
  discuss an assignment of mortgage, which is not even relevant to the statute or Plaintiffs’
  claims. As such, Plaintiffs have failed to overcome the arguments presented in Deutsche’s
  Motion to Dismiss and Plaintiffs’ Amended Complaint must be dismissed.
      D. Unjust Enrichment
          Plaintiffs’ Response fails to overcome Deutsche’s arguments that Plaintiffs’ claims for
  unjust enrichment are barred by the applicable statute of limitations and fail to state a cause
  of action. Plaintiffs don’t even attempt to address the arguments. Instead, Plaintiffs argue
  that Deutsche has no interest in “Plaintiffs’ Mortgage so the pending foreclosure on the
  Plaintiffs’ property would constitute unjust enrichment.” First, Plaintiffs to not have a
  mortgage and are not parties to the mortgage that was foreclosed in the underlying foreclosure
  action. Similarly, Plaintiffs fail to even identify the alleged unjust enrichment. Ultimately,
  Plaintiffs fail to overcome the arguments presented in Deutsche’s Motion to Dismiss, and as
  such, Plaintiff’s Amended Complaint should be dismissed.
      E. Violation of RESPA
          Plaintiffs’ Response fails to overcome the arguments presented by Deutsche that
  Plaintiffs’ claims asserting alleged violations of RESPA fail to state a cause of action. First,
  Plaintiffs claims are based on an alleged loan transaction between Plaintiffs and Deutsche,
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  however, these facts are contrary to the record as there is no long transaction between
  Plaintiffs and Deutsche. Further, Plaintiffs Response fails to outline how they alleged the
  elements required to state a claim for RESPA or how the alleged violation of RESPA led to
  Plaintiffs being damaged. Based on these failures, Plaintiffs’ Response does not overcome the
  arguments calling for dismissal of Plaintiffs’ RESPA claims.
      F. Violation of Fla. Stat. § 697.10
          Plaintiffs’ Response fails to overcome the arguments presented by Deutsche calling for
  dismissal of Plaintiffs’ claims of an alleged violation of Fla. Stat. § 697.10. Specifically,
  Plaintiffs fail to address how they have a private right of action under the statute and how a
  statute that simply provides a basis for recovery under a slander or cloud of title claim pertains.
  Instead, Plaintiffs discuss assignments of mortgage, which they are not parties to or relevant
  to the matter. As such, Plaintiffs have failed to overcome the arguments raised by Deutsche
  in its Motion to Dismiss so Plaintiffs claims related to Fla. Stat. § 697.10 must be dismissed.
      G. Fraud and Concealment Pursuant to Fla. Stat. §726.105(d)
          Plaintiffs’ Response fails to overcome the arguments presented by Deutsche calling for
  dismissal of Plaintiffs’ claims of fraud and concealment claims pursuant to Fla. Stat.
  §726.105(d). Plaintiffs don’t even attempt to reconcile in any way how Deutsche was a debtor
  that committed fraud to support their claim. Instead, Plaintiffs go on a rant about standing
  and assignments of mortgage. Plaintiffs’ failure to address the arguments raised by Deutsche
  further demonstrates that Plaintiffs’ Amended Complaint must be dismissed.
      H. Claims Related to Foreclosure Sale
          Plaintiffs’ Response fails to even attempt to address Deutsche’s arguments for
  dismissal of all claims that relate to the foreclosure sale that was held in the underlying
  foreclosure action. Based on Plaintiffs’ failure to even address the arguments, the claims
  should be dismissed.
      I. Claims for a Violation of Timely Assignment
          Plaintiffs’ Response fails to address Deutsche’s arguments calling for dismissal of
  Plaintiffs’ claims that there was no timely assignment. Specifically, Plaintiffs fail to address
  the fact that Florida does not require assignments of mortgage for a party to foreclose a
  mortgage. Similarly, Plaintiffs fail to address how they could possibly have standing to


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  challenge any assignments under the facts at hand. As such, Plaintiffs’ claims that relate to
  assignments of mortgage should be dismissed.
      J. Lack of Consideration
          Plaintiffs’ Response fails to address Deutsche’s arguments calling for dismissal of
  Plaintiffs’ claims of lack of consideration. Instead, Plaintiffs argue that the judge in the
  underlying foreclosure action erred by not dismissing the lawsuit because “MERS” a party
  not named in the instant lawsuit did not buy the promissory note at issue. Further, Plaintiffs’
  Response continues to raise arguments related to assignments of mortgage that are not valid
  and Plaintiffs don’t even attempt to clarify who the claim of lack of consideration is directed
  at. As such, Plaintiffs failed to overcome the arguments raised by Deutsche in its Motion to
  Dismiss and Plaintiffs’ Amended Complaint should be dismissed with prejudice.
      K. Violation of GAAP FASB FAS 140 Rule
          Plaintiffs’ Response fails to address the arguments raised by Deutsche in its Motion to
  Dismiss. Instead, Plaintiffs allege that the IRS and SEC helped and unnamed party—likely
  Deutsche—in foreclosing on the subject property.          As Deutsche’s Motion to Dismiss
  Plaintiffs’ Amended Complaint points out, Plaintiffs fail to identify the party that allegedly
  violated the rule at issue in Count XI of their Amended Complaint and fail to identify how a
  cause of action is born out of the alleged violation. Furthermore, Plaintiffs state that their
  eleventh cause of action entitles them to quiet title to the subject property. However, Count
  XI does not involve claims to quiet title in any way. Ultimately, Count XI of Plaintiffs’
  Amended Complaint is comprised of a rant on conclusions that in not way amount to a cause
  of action under Florida law. As such, Plaintiffs’ Amended Complaint should be dismissed
  with prejudice.
          Plaintiffs’ Response is untimely and fails to mend the incurable maladies of Plaintiffs’
  Amended Complaint. For the reasons stated above and in Deutsche’s Motion to Dismiss,
  Plaintiffs’ Amended Complaint should be dismissed with prejudice.
          WHEREFORE, Defendant, Deutsche Bank National Trust Company as Trustee
  Under the Pooling and Servicing Agreement Series RAST 2006-8 (CSFB), respectfully
  requests that this Court enters an order striking Plaintiffs’ Response and dismissing Plaintiffs’
  Amended Complaint with Prejudice, and for such other and further relief that this Court
  deems just and appropriate under the circumstances.
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                                                    Respectfully submitted,
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                                                    /s/ Daniel S. Hurtes
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                                     CERTIFICATE OF SERVICE
          I HEREBY CERTIFY on February 18, 2020, I electronically filed the foregoing
  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document
  will be served upon all parties requesting electronic notice and was served via U.S. mail to:
  James Buckman, 15020 South River Drive, Miami, FL 33167 and Maurice Symonette, 15020
  South River Drive, Miami, FL 33167.


                                                    /s/ Daniel S. Hurtes
                                                    DANIEL S. HURTES




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